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                  IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                       DIVISION OF ST. THOMAS AND ST. JOHN

SHIRLEY L. SMITH,                             :
                                              :
               Plaintiff,                     :            CIVIL NO. 2002-227 (STT)
                                              :
       v.                                     :
                                              :
VIRGIN ISLANDS PORT                           :
AUTHORITY, et al.,                            :
                                              :
               Defendants.                    :

                                              ORDER

       AND NOW, this 29th day of August, 2008, upon consideration of (1) Defendants Virgin

Islands Port Authority (“VIPA”) and VIPA Governing Board’s (hereinafter “Governing Board”)

Motion to Dismiss or, In the Alternative, Motion for Summary Judgment (Doc. Nos. 171 & 172)

regarding Plaintiff Shirley L. Smith’s claims under the Family Medical Leave Act (“FMLA”), 29

U.S.C. § 2601, et seq., as asserted in Count VII of Plaintiff’s Second Amended Complaint; (2)

pro se Plaintiff’s Opposition to Defendants’ Motion to Dismiss and Defendants’ Motion for

Summary Judgment on FMLA Claims and Cross Motion for Partial Summary Judgment (Doc.

No. 151) with respect her claims pursuant to the FMLA (Count VII), for breach of contract

(Count I), pursuant to the Virgin Islands Donated Leave Program, 3 V.I.C. § 583b, (Count V),

and for intentional discrimination and retaliation in violation of Title VII of the Civil Rights Act

of 1964, 42 U.S.C. § 2000e, et seq., (Count IV); and (3) Defendants’ Reply and Motion to Strike

Plaintiff’s Cross Motion for Partial Summary Judgment (Doc. No. 173), it is hereby ORDERED

as follows:

       1.      Defendants’ Motion to Strike Plaintiff’s Cross Motion for Partial Summary


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      Judgment (Doc. No. 173) is DENIED.

2.    Plaintiff’s cross-motion for summary judgment (Doc. No. 151) with respect to her

      claims for intentional discrimination and retaliation in violation of Title VII

      (Count IV) is addressed in a separate Order of this date on Plaintiff’s Title VII

      claims, and is DENIED therein.

3.    Plaintiff’s cross-motion for summary judgment (Doc. No. 151) with respect to her

      breach of contract claim (Count I) and Title 3 V.I.C. § 583b claim (Count V) is

      DENIED WITHOUT PREJUDICE to motion refiling and full briefing on those

      claims only, for the reasons stated in the attached Memorandum.

4.    Defendants’ Motion to Dismiss or, In the Alternative, Motion for Summary

      Judgment regarding Plaintiff’s FMLA claims (Doc. Nos. 171 & 172) and

      Plaintiff’s Cross Motion for Partial Summary Judgment (Doc. No. 151) with

      respect to her FMLA claims are both DENIED for the reasons stated in the

      attached Memorandum.




                                                    S/ James T. Giles
                                               HONORABLE JAMES T. GILES
                                               UNITED STATES DISTRICT JUDGE
                                               (Sitting By Designation)




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